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                            EXHIBIT A
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                                                                             ELECTRONICALLY FILED
                                                                               2017 Jul 20 3:33 PM
                                                                                CLERK OF COURT


          IN THE CIRCUIT COURT OF SHELBY COUNTY TENNESSEE FOR
        THE THIRTIEH JUDICIAL DISTRICT AT MEMPHIS, SHELBY COUNTY


 BRIAN ALLEN,


         Plaintiff,

  Vs.                                                   NO. CT-00             -17
                                                        Div.
  RICHARD JAMES SIMMONS, JR.,
  JHT HOLDING, INC and/or
  UNIMARK TRUCK TRANSPORT, LLC,
                                                        JURY DEMANDED
         Defendants.


                                     COMPLAINT

 TO THE HONORABLE JUDGES OF THE CIRCUIT COURT OF TENNESSEE
 FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS, SHELBY
 COUNTY:

         Come now the Plaintiff, Brian Allen, and sue the Defendants, Richard James

 Simmons, Jr., JHT Holdings, Inc, and/or Unimark Truck Transport, LLC, for the sum FIVE

  HUNDRED THOUSAND DOLLARS ($500,000.00) damages, actual and compensatory,

  and for cause of action alleges:

         1.     Plaintiff, Brian Allen, is a resident of Memphis, Shelby County, Tennessee

 residing at 7264 Peppermill Lane, Memphis, Tennessee 38125.

         2.     Defendant, Richard James Simmons, Jr resides at 8064 US Hwy 64 90W,

 Taylorville, NC 38681-7141.

        This Defendant may be served through the Secretary of State for the State of

 Tennessee under the Long Arm Statute T.C.A. 20-2-203 et seq. The Defendant being non


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      -resident of the State of Tennessee. Defendant, Unimark Truck Transport, LLC, is a

      foreign corporation and may be served through their agent for service at CSC-Lawyers

      Incorporating Service Company located at 221 Bolivar Street, Jefferson City, MO 65 10 1.

             This Defendant may be served through the Secretary of State for the State of

      Tennessee under the Long Arm Statute T.C.A. 20-2-203 et seq. The Defendant being non

      -resident of the State of Tennessee.

             The Defendant, JHT Holdings, Inc, is a foreign corporation and may be served

      through their agent for service at Corporation Service Company, 8040 Excelsior Drive,

      Madison, WI 3717.

             This Defendant may be served through the Secretary of State for the State of

      Tennessee under the Long Arm Statute T.C.A. 20-2-203 et seq. The Defendant being non

      -resident of the State of Tennessee.

             3.     This is a lawsuit for personal injuries, pain and suffering, loss of income and

      earning capacity, medical expenses, loss of enjoyment of life, property damage, diminution

      in value and loss of use as a result of an accident that occurred on July 22, 2016 in Memphis,

      Shelby County, Tennessee at or near the intersection of 1-40, 1 miles west of Sycamore

      View Road. At the hereinabove-described time and place, Plaintiff was traveling in his

      automobile from the entrance ramp to enter 1-40 when the Defendant, Richard James

     Simmons, Jr. swerved his vehicle to the right cutting off Plaintiff from enter the interstate,

     striking with the right rear tire the left front of Plaintiff's vehicle, thereby causing the

     accident in question to occur. The Defendant, fled the scene. Plaintiff pulled in front of




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  the Defendant and forced him to stop his vehicle and called the Memphis Police officers to

  the scene.

         Jurisdiction of this cause of action lies with the Circuit Court of Shelby County,

 Tennessee.

        4.     The Defendant, Richard James Simmons, Jr., failed to maintain a safe

 lookout at said intersection, thereby causing the accident in question to occur. Plaintiff

 alleges that he had the right-of-way at the time the accident occurred. Plaintiff would

 further state that the direct and proximate cause of the accident in question was the

  negligence of the Defendant, Richard James Simmons, Jr. Plaintiff, Brian Allen, alleges

 that he did nothing to contribute to the accident in question and is not guilty of any

 comparative fault in this case, and it was the negligence of the Defendant, Richard James

 Simmons, Jr., in the operation of his motor vehicle which was the direct and proximate

 cause of the accident in question and injuries sustained by the Plaintiff, Brian Allen. Any

 negligence that the Defendant, Richard James Simmons, Jr., should be found guilty of

 should be imputed to the Defendant, JHT Holdings, Inc, and/or Unimark Truck Transport,

 LLC, under the theory of Respondeat superior.

        5.     Plaintiff further alleges that the Defendant, Richard James Simmons, Jr.

 violated one, some, or all of the following acts of common law negligence, and as a result

 of same was the direct and proximate cause of the accident in question and injuries

 sustained by Plaintiff;

               a.     Failure to maintain proper control of his vehicle;

               b.     Failure to keep a proper lookout ahead;


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                    C.     Failure to pay full time and attention to operating his
                           vehicle;

                    d.     Speeding;

                    e.     Reckless driving;

                    f.     Failure to maintain a safe lookout

                    g.     Leaving the scene of the accident.

             6.     Plaintiff alleges that the following City Ordinances of the City of Memphis

      were in full force and effect at the time and place the hereinafter-alleged accident occurred,

      and that the Defendants violated one, some, or all of same and as a result thereof, was the

      direct and proximate cause of the accident in question and injuries sustained by the

      Plaintiff, Brian Allen. Said City Ordinances being set out as follows:

                    Section 21-87. DUTY TO DEVOTE FULL TIME AND
                    ATTENTION TO OPERATING VEHICLE. It shall be
                    unlawful for a driver of a vehicle to fail to devote full time
                    and attention to operating such vehicle when such failure,
                    under the then existing circumstances, endangers life, limb,
                    or property.

                    Section 21-88.      DUTY TO DRIVE AT SAFE SPEED,
                    MAINTAIN LOOKOUT, AND KEEP VEHICLE UNDER
                    CONTROL. Notwithstanding any speed limit or zone in
                    effect at the time, or right of way rules that may be
                    applicable, every driver shall:
                    1)    Operate his vehicle at a safe speed;
                    2)    Maintain a safe lookout;
                    3)    Use due care to keep his vehicle under control.

                    Section 23-106. GENERAL SPEED RESTRICTIONS
                    It shall be unlawful for any person to drive a vehicle upon
                    the streets of this city at a speed greater than thirty-five (35
                    miles per hour)



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                Section 21-128.    RECKLESS DRIVING.
                Any person who drives any vehicle in a willful or wanton
                disregard for the safety of person or property is guilty of
                reckless driving.


         7.     Plaintiff further alleges that there were in full force and effect certain State

  Statutes of the State of Tennessee and that the Defendant, Richard James Simmons, Jr.,

  violated one, some, or all of said State Statutes and as a result of same was the direct and

  proximate cause of the accident in question and injuries sustained by the Plaintiff, Brian

  Allen, and Nino Prince.

                T. C. A. 55-8-136. DRIVERS TO EXERCISE DUE CARE.
                Notwithstanding the foregoing provisions of this chapter,
                every driver of a vehicle shall exercise due care to avoid
                colliding with any pedestrian upon any roadway and shall
                give warning by sounding the horn when necessary and shall
                exercise proper precaution.

               T. C. A. 55-8-142. TURNING MOVEMENTS.
               a) No person shall turn a vehicle at an intersection unless the
               vehicle is in proper position upon the roadway as required in
               Section 55-8-140, or turn a vehicle to enter a private road or
               driveway, or otherwise turn a vehicle from a direct course or
               move right or left upon a roadway, unless and until such
               movement can be made with reasonable safety. No person
               shall so turn any vehicle without giving an appropriate signal
               in the manner provided in Sections 55-8-143 and 55-8-144 in
               the event any other traffic may be affected by such
               movement.

               T.C.A. 55-10-205. RECKLESS DRIVING.
               (a)    Any person who drives any vehicle in willful or
               wanton disregard for the safety of persons or property is
               guilty of reckless driving.




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         8.          Plaintiff further alleges that the Defendant was the direct and proximate

  cause of the accident in question and as a result of same Plaintiff, Brian Allen, sustained

  very serious and painful personal injuries throughout her entire body, that is more fully set

  out hereinafter;

                a.      Cervical sprain/strain;

                b.      Hypolordosis;

                C.      Cephalgia;

                d.      Cervicalgia;

                e.      Lumbar sprain/strain;

                f.      Lumbalgia;

                g.      Pain and suffering.

                Plaintiff alleges that the above are only illustrative of the injuries that he

  sustained in the accident and do not include all of said injuries and the extent of same.

         9.     Plaintiff further alleges he has incurred numerous medical expenses as a

  result of treatment of injuries sustained in the accident in question and will incur future

  medical expenses to treat said injuries, and sue for any and all medical expenses past,

  present and future associated with treatment of injuries sustained in the accident in

  question.

         10.    Plaintiff alleges that as a direct and proximate result of the heretofore

  described negligent acts of the Defendants, Plaintiff has sustained a loss of income and/or

  earning capacity.




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         11.    Plaintiff further alleges that he sustained great pain and suffering and loss of

  enjoyment of life as a result of the injuries and sues for same.

         13.    Plaintiff at the time of the accident in question was the owner of a 2003 GMC

  Yukon automobile and said vehicle was damaged in the accident in question and Plaintiff

  sues for any and all property damage, diminution in value and loss of use.

         WHEREFORE, Plaintiff, Brian Allen sues for personal injuries, pain and

  suffering, medical expenses, loss of income and earning capacity, property damage,

  diminution in value, loss of use, prejudgment interest, loss of enjoyment of life and any

  other damages allowable under Tennessee law and sues said Defendants, Richard James

  Simmons, Jr. JHT Holdings, Inc, and/or Unimark Truck Transport, LLC, for the sum of

  FIVE HUNDRED THOUSAND DOLLARS ($500,000.00) and demands a jury to try the

  issues when joined.




                                             Respectfully Submitted,


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                                               +                 ~

                                             Louis P Chiozza, Jr.            #8871
                                             230 Adams Avenue
                                             Memphis, TN 38103
                                              (901) 526-9494




                                                   ~
     Case 2:17-cv-02577-SHM-cgc Document 1-1 Filed 08/11/17 Page 9 of 13                                                              PageID 12

                                                 (CIRCUITlCHANCERY) COURT OF TENNESSEE                                      ELECTRONICALLY FILED
                                              140 ADAMS AVENUE, MEMPHIS, TENNESSEE 38103                                      2017 Jul 20 3:33 PM
                                             FORTHE THIRTIETH JUDICIAL DISTRICTAT MEMPHIS                                      CLERK OF COURT

                                                                         IN CIVIL ACTION
                                                             awsuit
 Docket No. CT-003v7F17                                                                                    Ad Damnum S
                                                        SUMMgivorce

 Brian Allen                                                                            Robert James Simmons, Jr.
                                                                                       JHT Holding, Inc. and/or
                                                                                       Unimark Truck Transport, LLC.
                                                                            vs




                             Plaintiff(s)                                                                        Defendant(s)

T0: (Name and Address of Defendant (One defendant per summons))                                                            MPthnrl nf Servir.e•

 JHT HOLDINGS, INC
 CORPORATION SRVICE COMPANY                                                                                        Shefby County Sheriff
 8040 EXCELSIOR DRIVE, SUITE 400                                                                                   -ommissioner of fnsurance (S)
 MADISON, WI 53717
                                                                                                                   3ecretary of State (S)
 This Defendant may be senred through the Secretary of State for the State of Tennessee                             Other TN County Sheriff (S)
 under the Long Arm Statute T.C.A. 20-2-203 et seq. The Defendant being non -resident of                            Private Process Server
 the State of Tennessee.
                                                                                                                           (S)Attach RequiredFees
You are hereby summoned and required to defend a civil action by filing your answerwith the Clerk of the Court and

sennng a copy of your answer to the Complaint on LOU IS P. CHIOZZA, JR                                                                PlaintitPs

afforney, whose address is 230 ADAMS AVENUE, MEMPHIS, TN 3$103

telephone 901-526-9494                     within THIRTY (30) DAYS after this summons has been served upon you, not including the day
of service. If you faif to do so, a judgment by default may be taEcen against you for the relief demanded in the Coinplaint.

                                                                                  JIMMY MOORE, Cleric / DONNA RUSSELL, Clerk and Master


TESTEDAND ISSUED                     -2 -   -2 0 - / 7                           BY                 ~                           ~                    D.C.
                                                                  TO THE DEFENOANT:
NOTICE; Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a ten thousand dollar (S10,000) personal propertyexemption from execution orseizure to satisfy a judgment. Ifajudgment
should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath, of the items you vdsh
to ctaim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you thereafter as neq*sary; ho@.        -~er, uplpss
it is filed before the judgment becomes final. it will not be effective as to any execution or gamishment issued prior to the filiYng of the tlv
                                                                                                                                               st- Certaiji
items are automatically exempt by taw and do not need to be 6sted. These include items of necessary wearing apparel (do~or y~self ariil'
your family and trunks or other re ce ptacles necessa ry to contain such apparel, family portraits, the famify Bibte and school b '° ho~sny of tlie~
items be seized, you would have the right to recover them. If you do not understand your exemption right or how to exerci~it~you rr~y vrnsh to ~eek
the counsel of a ta er.
                     ~                                                                                                                                ._:ln
                                 FORAMERICANS wITH DISABILITIES ACT (ADA) ASSISTANCE ONLY, CALL (901) 222-2341                  -Q
                                                                                                                                 rt~ ~ -3r

I. JIMMY t•AOORE / DONNA RUSSELL , Clerk of the Court, Shelby County, Tennessee, certity this to be a true and accurate 3.
                                                                                                                        ~'opy asfile~this

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JIMMY MOORE , Clerk / DONNA RUSSELL, Clerk and Master B.                              ~/'/                               D.C.
        Case 2:17-cv-02577-SHM-cgc Document 1-1 Filed 08/11/17 Page 10 of 13                                                  PageID 13
r-




     I FiEREBYCERTIFYTHAT I HAVE SERVEDTHE WITHIN SUMMONS:

       delivering on the                 day of                                       20         at                  M. a copy of the summonsI

            a copy of the Complaint to the following Defendant




                                                                                      By:
                 of person accepting service                                                Sheriff or other authorized person to senre




     I HEREBY CERTIFYTHAT I HAVE NOT SERVEDTHE WITHIN SUMMONS:

     To the named Defendant

     because                                      is (are) not to be found in this County after diligent search and inquiry for the following



       is                  day of                                    .20




                                                                                      By:
                                                                                            Sheriff or other authori2ed person to serve process
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                             The Shelby County, Tennessee Circuit Court




    Case Style:              BRIAN ALLEN VS RICHARD SIMMONS JR

    Case Number:             CT-003079-17

    Type:                    SUMMONS ISSD TO MISC




                                                  w42az*x
                                                  Ms Sheri C Carter, DC




Electronically signed on 07/21/2017 07:47:23 AM
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                                                          Division of Business Services
                                                              Department of State
                                                                State of Tennessee
                                                               312 Rosa L. Parks AVE, 6th FL
                                                                 Nashville, TN 37243-1102
   Tre Hargett
 Secretary of State
 JHT HOLDINGS INC                                                                         07/27/2017
 AKA/POE: CORPORATION SERVICE COMPANY
 SUITE 400
 8040 EXCELSIOR DRIVE
 MADISON, WI 53717


RE: BRIAN ALLEN

 VS: ROBERT JAMES SIMMONS JR, JHT HOLDING INC AND/OR UNIMARK TRUCK TRANSPORT
     LLC

                                       Notice of Service
       The enclosed process, notice or demand is hereby officially served upon you by the
Tennessee Secretary of State pursuant to Tennessee law. Please refer to the process, notice or
demand for details concerning the legal matter. If you have any questions, please contact the
clerk of the court that issued the process, notice or demand.

       The process, notice or demand may have a court date and time that you must appear to
defend yourself or the number of days from the date of service by which you are required to file
an answer. Failure to appear in court at the time specified or failure to file an answer in the given
time could result in a default judgement being rendered against you for relief sought in the
lawsuit.

      The Secretary of State's office cannot give you legal advice. If you need legal advice,
please consult a private attorney.




                                                                 41      1`t*
                                                                 Tre Hargett
                                                                 Secretary of State
Enclosures: Original Documents
DOCUMENT INFORMATION
 SOS Summons # : 04585342
 Case #:         CT-003079-17
 Certified #:         70170530000018871796




SS-4214 (Rev. 8/15)                                                                            RDA 1003
                                 Case 2:17-cv-02577-SHM-cgc Document 1-1 Filed 08/11/17 Page 13 of 13                  PageID 16
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   Business Services Division                                                                                                             _               o~
Secretary of State Tre Hargett                                                                                                        ' ~~• '       ZIP
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      State of Tennessee
  312 Rosa L. Parks Avenue, 6th Floor
   Nashville, Tennessee 37243-1102




                                            JHT HOLDINGS INC
                                            SUITE 400
                                            8040 EXCELSIOR DRIVE
                                            : CORPORATION SERVICE COMPANY
                                            MADISON, W153717




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